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10                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
11
     East Bay Sanctuary Covenant, et al.,
12                                                            Case No.: 18-cv-06810-JST
                    Plaintiffs,
13
                    v.                                        PLAINTIFFS’ NOTICE OF
14                                                            CORRECTED DECLARATION
     Donald J. Trump, President of the United States, et
15   al.,

16                  Defendants.

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           Case 4:18-cv-06810-JST Document 84 Filed 12/06/18 Page 3 of 4




 1          The Declaration of Nicole Ramos filed December 4, see ECF No. 71-8, contained a
 2   typographic error in paragraph 18, line 3. In the corrected declaration, attached hereto, “30 hours” is
 3
     corrected to “3 hours.” No other changes have been made, except that the corrected declaration is
 4
     dated today.
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                                                      1                                Notice of Errata
                                                                                      18-cv-06810-JST
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 1
     Dated: December 6, 2018                     Respectfully submitted,
 2
                                                 /s/Lee Gelernt
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                                             2                              Notice of Errata
                                                                           18-cv-06810-JST
